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Case 2:18-cV-00674-Gl\/|N-VCF Document 1 Filed 04/13/18 Page 1 of 24

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UN|TED STATES D|STR|CT COURT
D|STR|CT OF NEVADA
SHANE SP|LLETT, CASE NO.:
l _ PETlTlON FOR REMOVAL OF ACTlON
P|aln'flff, UNDER 28 U.S.C. § 1441 (D|VERS|TY)
vs.
STATE FARM lVlUTUAL AUTOIV|OB|LE

lNSURANCE COl\/IPANY, a foreign
corporation; DOES l through X, inclusive;
and ROE CORPORAT|ONS, lthough X,
inclusive,

Defendants.

 

 

Pursuant to 28 U.S.C.§ 1441 (b), Defendant, State Farm Mutual Automobile
insurance Company (“State Farm”), by and through its attorneys, Lewis Brisbois Bisgaard
& Smith LLP; files this Petition for Removal of Clark County District Court Case No. A-18-
768472-C styled Shane Sp/'//ett v. State Farm Mutua/ Automob/'/e /nsurance Company, et
a/. and states as follows:

1. On January 26, 2018, an action was commenced in the Eighth Judicial

District Court, C|ark County, State of Nevada, entitled Shane Sp/'//ett v. State Farm Mutua/

4841-5185-8274.1

 

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 2 of 24

Automob/'/e /nsurance Company, et a/., Case No. A-18-768472-C (“State Court Action”).
Copies of the Complaint (“State Court Complaint”), Summons, and Proof of Service are
attached hereto and marked respectively as Exhibits A, B, and C, constituting ali of the
papers and pleadings served on Defendant State Farm.

2. Service of the Summons and Complaint upon Defendant State Farm was
made by the Division of insurance on i\/larch 16, 2018.

3. This action is a civil action of which this Court has original jurisdiction under
28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant State
Farm pursuant to the provisions of 28 U.S.C. § 1441 (b) in that it is a civil action between
citizens of different states and the matter in controversy exceeds the sum of $75,000.00,
exclusive of interest and costs.

4. Venue is appropriate in the unofficial Southern District of the Court pursuant
to 28 U.S.C. §§ 1393 (b)(2) and (c), 1441 (a); and LR lA6-1.

5. in the State Court Action, the matter in controversy exceeds the sum of
$75,000.00, exclusive of interest and costs. The Complaint in this action contains
allegations that State Farm failed to meet its contractual obligations to Plaintiff arising
from an insurance contract and that such actions constitute bad faith, for which Plaintiff
seeks to recover special and general damages, as weil as punitive damages.1

Plaintiff’s Complaint alleges Plaintiff made a demand for the available limits of the
underinsured motorist coverage (“Uli\/l”) provision of the policy. EXh/b/'t A, 4:1-5. The
applicable UiM limits are $25,000.00. /a'. at 4:2-3. Plaintiff’s Complaint alleges bodily
injury as a result of the subject accident and claims damages for medical bills,

medication, therapy, emotional trauma, mental anguish and pain and suffering in excess

 

1 There are several cases analogous to this one in which a jury verdict of punitive damages support'a
finding in this case that Plaintiff’s claimed damage amounts could exceed $75,000. See, Pac/'fic Mut. L/fe

/ns. Co. v. Has//'p, 499 U.S. 1 (U.S. 1991)(affirming nearly $1 million punitive damages award over insurer’s
mishandling of $4,000 medical claim); Banker’s L/'fe & Cas. Co. v. Crewnshaw, 486 U.S. 71 (U.S.
1988)(affirming punitive damages award of $1.6 million arising out of insurer’s failure to pay a $20,000

medical claim).

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of $79,000. /0'. at 3112-19.

Plaintiff asserts six causes of action, five of which seek additional damages in

excess of the UiM policy limits.

(1) Plaintiff’s first cause of action for breach of contract seeks an undetermined
amount in damages in excess of the $25,000 UiM policy limits, including but
not limited to interest and other incidental and foreseeable out-of-pocket
expenses, including attorney’s fees and costs of this suit. /a'. at 5:1-5. These
damages are not quantified, but Plaintiff alleges Defendant State Farm’s
actions in breaching the contract warrant the imposition of punitive damages in
excess of $15,000. /a'. at 6-10.

(2) Plaintiff’s second cause of action is contractual and/or tortious breach of the
implied covenant of good faith and fair dealing. Plaintiff seeks damages in
excess of $15,000 related to his second cause of action. /d. at 5:26-28.
Additiona||y, Plaintiff alleges Defendant State Farm’s actions related to these
allegations warrant the imposition of punitive damages in excess of $15,000.
/0'. at 6:5-9.

(3) Plaintiff’s third cause of action alleges breach of fiduciary duty/bad faith.
Plaintiff seeks damages in excess of $15,000 related to his third cause of
action. /0'. at 6:19-22. Plaintiff also alleges Defendant State Farm’s actions
related to these allegations warrant the imposition of punitive damages in
excess of $15,000. /d. at 6:23-27.

(4) Plaintiff’s fourth cause of action alleges violation of the Unfair Claim Practices
Act - Unfair Trade Practices (686A.310 et. seq.). Plaintiff seeks damages in
excess of $15,000 related to his fourth cause of action due to Defendant State
Farm’s alleged breach of its statutory duties. /a'. at 7:22-24. Additonaiiy,
Plaintiff alleges Defendant State Farm’s breach of its statutory duties affords
recovery for attorneys fees and costs of an undetermined amount. /d. at 7:25-

27. Plaintiff also claims punitive damages of an undetermined amount related

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to violations of the statute. /d. at 8:1-6.

Plaintiff’s Complaint sets forth a minimum combined amount of damages in the
amount of $90,000, and based upon the allegations within the Complaint, it appears
Plaintiff will seek far in excess of this amount at the time of trial ($25,000 UiM limits, plus
$15,000 each per six specific categories of damages, plus unquantified damages). This
amount does not include consideration for other damages Plaintiff identified, but which
were not quantified.

A defendant’s duty is not to prove by a preponderance of the evidence that Plaintiff
is likely to recover an amount in excess of the threshoid. Rather, the jurisdictional
minimum in diversity cases is determined by the amount at stake to either party. Hamr/'ck
v. REO Props. Corp., 2010 U.S. Dist. LEXiS 85073 (Nev. 2010). ln other words, the
amount in controversy is satisfied when the Plaintiff’s potential gain exceeds the
jurisdiction |imit. /0'. The pertinent question the Court is to ask is whether or not Plaintiff
is likely to ask a jury for an amount above $75,000.00. Canon/'co v. Sea/s, 2013 U.S.
Dist. LEX|S 60047 (Nev. 2013). As such, the appropriate figure to use in determining
whether State Farm has presented adequate evidence to establish the amount in
controversy is not the probable amount that Plaintiff will recover, but rather the total
potential value of Plaintiff’s claim considering all of the allegations and ali the asserted
damages. if State Farm can show by a preponderance of evidence that (1) Plaintiff is
likely to ask from the jury an amount over the jurisdictional thresho|d, or (2) were a jury to
award Plaintiff full recovery, that award would be over the jurisdiction threshold, then
jurisdiction with the Federai Court should remain.

it is apparent from the pleadings, Plaintiff seeks to recover extra-contractual
damages in addition to the UiM policy limits. Specificaiiy, Plaintiff’s Complaint sets forth
damages in excess of $90,000 that he intends to seek at trial. Thus, the jurisdictional
threshold amount of $75,000 is satisfied for removal purposes. lt is apparent from the
type of damages alleged in the Complaint that the amount in controversy is in excess of

$75,000, exclusive of interest and costs.

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 5 of 24

6. Defendant State Farm is informed and believes that Plaintiff was, at the time
of filing of the State Court Action, and still is, a resident of C|ark County, State of Nevada.
State Farm is a corporation organized and existing under the laws of the State of lllinois,
with its principal places of business in l|linois.

7. Based on the foregoing, Defendant State Farm respectfully submits that (a)
there is diversity of citizenship between Plaintiff and Defendant State Farm and (b) the
amount in controversy exceeds $75,000.00. This action is, therefore properly removed to
the United States District Court for the District of Nevada.

DATED this §§ day of Aprii, 2018.

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 6 of 24

CERT|F|CATE OF SERV|CE

i HEREBY CERT|FY that on the gm day of April, 2018, l electronically filed the
PETlTlON FOR REMOVAL OF ACT|ON UNDER 28 U.S.C. § 1441 (D|VERS|TY)
with the Clerk of the Court through Case Management/Eiectronic Fi|ing System.

Jerome R. Bowen, Esq.
Daniel P. Nube|, Esq.
BOWEN LAW OFF|CES
9960 W. Cheyenne Avenue
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Las Vegas, Nevada 89129

By: /$/ .’Kristen Treemcm
An Employee of LEW|S BR|SBO|S
B|SGAARD & SM|TH LLP

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Case 2:18-cv-00674-Gl\/iN-VCF D oooooo t 1 Filed 04/13/18 Page 7 of 24

EXHIBIT A-
Complaint

EXHIBIT A -
Complaint

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 8 of 24

 

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6
7 DISTRICT COURT
8 CLARK COUNTY, NEVADA
9 4- * s
10 sHANE sPILLETT ' d' 'd 1 A'18_768472'C
11 ’ an m wl ua ’ S:`;’; §§:Z Department 32
Plaintiff,
12 vs
' c MPL INT
l
3 STATE FARM MUTUAL AUTOMOBILE
l4 INSURANCE COMPANY, a foreign ARBITRATION EXEMPTION CLAIMED

corporation; DOES I through X, inclusive; Declaratory Relief Requested
15 and RoE coRPoRATroNs, 1 through x,
16 lnclusive,

 

 

17 Defendants.
18

Plaintiff, Shane Spillett (“Piaintiff" or “Mr. Spiliett”), by and through his counsel, BOWEN
19 LAW OFFICES, complains and alleges as follows:
20 BAB]§IE§ § ,![JRI§DI§§T!§ [N
21 1. That at all times relevant hereto, Plaintiff, Shane Spillett, was a resident of Clark
22 County, State of Nevada.
23 2. The underlying accident which is the subject of this lawsuit occurred in C|ark
24 County, Nevada, and the subject policy of insurance was issued by Defendant State Farm in Nevada
25 to Plaintiff
26

3. Plaintiff is informed and believes, and upon that information and belief, alleges that
:; at all times relevant herein, Defendant State Farm Mutual Automobile Insurance Company (“State

 

 

Case Numberf A-1B-768472-C

 

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 9 of 24

l Farm” or “Defendant”) is a foreign corporation of Clark County, Nevada. Further, Defenth State
2 Farm committed actionable conduct in the State of Nevada and has sufficient minimum contacts
3 within the State of Nevada to subject itself to the jurisdiction of the courts of the State of Nevada.
4 4. The Defendants designated as DOES I through X, inclusive, are owners, employers,
5 employees, agents, assigns, partners, predecessors or successors in interest, and/or contractors of
6 Defendant and/or are other individuals who were involved in the acts which form the basis of the
7 allegations and claims contained herein. The true and correct names of said Defendants are currently
8 unknown to Plaintiff who therefore sues said Defendants by said fictitious names When the true
9 identities of said Defendants are ascertained, Plaintiff will ask leave of this Court to amend his
10 Complaint to insert such names.
11 5. The Defendants designated as ROE Corporations 1 through X, inciusive, are the
12 owners, employers, general contractors or contractors, assignors, parent or subsidiary business
13 entities, partner, and/or predecessor or successor entities of Defendant, and each of them, or are
14 otherwise somehow responsible for the acts which form the basis of the allegations and claims
15 contained herein. The true and correct identities of said business entities and/or corporations are at
16 this time unknown to Plaintiff who therefore sues said business entities and/or corporations under
17 such fictitious names. When the true names of said Defendants are ascertained, Plaintiff will ask
18 leave of this Court to amend his Complaint to insert such names.
19 6. Pursuant to NRCP 10 (a) and Ijereuberger Hercules-Wege §§MB[_-j v. Vi;o§iek 107
20 Nev. 873, 822 P.2d 1100 (1991), the identity of defendants designated as DOE Defendants and/or
21 ROE COR_PORATIONS 1 through X are unknown at the present time; however, it is alleged and
22 believed these defendants were involved in the initiation, approval, support or execution of the
23 wrongful acts upon which this litigation is premised, or of similar actions directed against Plaintiff
24 about which they are presently unaware. These defendants are in some manner negligently,
25 vicariously or statutorily responsible for the events and happenings referred to and caused damages
26 proximately to Plaintiffherein. When the specific identities of these parties are revealed through the
27 course of discovery, the DOE/ROE appellation will be replaced to identify these parties by their true
28 names and capacities.
Page 2 of 10

 

 

 

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 10 of 24

1 7. Venue is proper in this District Court as the automobile accident that is the subject
2 of this lawsuit occurred in Clark County, Nevada. Plaintiff, who was injured in said accident, is a
3 resident ofLas Vegas, Nevada. Defendant State Farm, the insurer of of both the non-party tortfeasor
4 and Plaintiff, engaged in the transaction of business which involved written insurance contracts
5 issued in Nevada to be perforated in Nevada and thus jurisdiction and venue are properly before this
6 Court,
7 QENERAL ALLEGATIQNS
8 8. At all relevant times, there was in full force and effect a automobile insurance policy
9 (the “Policy”) between Plaintiff and Defendant whereby Defendant agreed to provide Plaintiff with,
10 among other coverages, an underinsured motorist protection benefit Plaintiff paid his premiums in
l 1 reliance of receiving this underinsured motorist protection if he would so need it in the future.
12 9. On or about October 23, 2012, at approximately 7:31 a.m., Mr. Spillett was driving
13 his 2002 Toyota and was traveling Southbound on Buf`falo Dri ve entering the intersection ofNorth
14 Robindale Road when Ms. Mogielnicki, the driver of a 2002 Lexus was traveling Westbound on
15 Robindale Road, proceeded through her stop sign at the intersection and struck left side of Mr.
16 Spillett`s vehicle. As the sole result of the negligence of a non-party tortfeasor, Ms. He-Sun
17 Mogielnicki, an underinsured motorist per her Policy, Mr. Spillett incurred damages in medical bills,
18 medication, therapy, emotional trauma, mental anguish, and pain and suffering in excess of
19 $79,000.00.
20 10. As a result of the aforementioned accident with the third-party at fault driver,
21 Plaintiff demanded and settled for policy limits of $25,000.00 from Ms. Mogielnick for her State
22 F arm poiicy. However, the policy proceeds were inadequate for his incurred damages
23 11. Prior to the subject coilision, Plaintiff purchased an automobile insurance policy
24 (the “Policy”) from State Farm in Nevada which provided various forms of motor vehicle coverage,
25 including benefits for compensation resulting from injuries and damages caused by underinsured
26 motorists At the time of the subject collision, Plaintiff’s Poiicy issued by Defendant State Farrn,
27 and/or DOES 1 through X, and Roe Corporations XI through XX, was in full force and effect.
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Page 3 of 10

 

 

 

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Case 2:18-cv-00674-Gl\/iN-VCF Document 1 Filed 04/13/18 Page 11 of 24

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12. Following the collision, Plaintiff timely presented State Farm with all of his accident-
related medical records and bills, and on or about February 6, 2015, Plaintiff made a demand for
contractual underinsured motorist policy benefits up to his limit of $25,000.00 from State Farm. in
this request, Plaintiff informed Defendant that the non-party tortfeasor’s underlying insurance limit
of $25,000.00 was far too low to fully compensate Plaintiff for his incurred damages

13. On March 18, 2015, State Farm substantially undervalued Plaintift`s claim and
failed to make adequate payment to Plaintiff as was required under the UIM insurance poiicy. State
Farm’s refusal to make adequate payment to Plaintiff was made without a reasonable basis in fact
or law. State Farm’s refusal to make adequate payment to Plaintiff was made in bad faith and for
the purpose of denying benefits of contract for UIM coverage to Plaintiff. offer to compensate him
for the full extent of his entitled contractual benefits

14. State Farm’s refusal to make adequate payment to Plaintiff was an unlawful attempt
to force Plaintiff to accept less money than the amount due under the Policy. State Farm’s actions
herein constitute bad faith insurance practices

MME
(Breach of Contract)

15, Plaintiff repeats and re-alleges each and every preceding allegation as though fully
set forth herein.

16. The Policy is and was at all relevant times hereto a valid and enforceable agreement
between Plaintiff and Defendant Plaintiff performed all conditions, covenants and promises
required to be performed by him in accordance with the terms and conditions of said Policy.

17. By the terms of the Policy, Defendants (as weil as Doe I-X and Roe Corporations
XI-XX) were obligated to fully compensate Plaintiff for the injuries and damages he sustained by
an underinsured motorist in the subject motor vehicle collision, up to the limits of his coverage.
Defendant failed to perform this obligation under the Policy, despite Plaintiff timely providing
Defendant with all of his relevant medical records and bills. Defendants breached the agreement by,

inter alia, refusing to properly compensate Plaintiff.

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l 8. As a direct and proximate cause of Defendants breaches, Plaintiff sustained damages
in excess of the UlM policy limits, including but not limited to interest and other incidental and
foreseeable out-of-poclcet expenses, including the need to retain the services of an attorney to obtain
the wrongfully contested and withheld benefits, and the resulting attomey’s fees and other costs of
suit, the total amount of which will be subject to proof at the time of trial.

19. Defendant State Farm’s (as well as Doe l-X and Roe Corporations XI~XX) conduct
described herein subjected and continues to subject Plaintiff to cruel and unjust hardship in
conscious disregard to Plaintiff’s rights constituting fraud, oppression and malice, entitling Plaintiff
to punitive or exemplary damages in an amount in excess of F iiteen Thousand Dollars (315,000.00)
sufficient to punish or set an example of Defendant State Farm.

SECQND CAUSE OF ACT!QN

(Contractual and/or Tortious Breach of the lmplied Covenant of
Good Faith and Fair Dealing)

20. Plaintiff repeats and re-alleges each and every preceding allegation as though ii.illy
set forth herein.

2!. The Policy referred to above was contractual, and as such, there existed an implied
in law term imposing an obligation of good faith and fair dealing. Said term obligates the
Defendants to refrain from taking any action which would otherwise interfere with the lawful and
legal rights of Plaintiff to carry out the terms of the agreements Further, said term requires that
Defendants refrain from carrying out any act winch would otherwise cause undue hardship on the
Plaintiff.

22. Defendant State Farm (as well as Does l-X and Roe Corporation l-X) breached the
covenant of good faith and fair dealing by failing to fully compensate Plaintiff for the injuries and
damages he sustained by an underinsured motorist in the subject motor vehicle collision, up to the
limits of his coverage.

23. As a direct and proximate cause of Defend ants’ conduct, Plaintiff has been damaged
in an amount in excess of Fifteen Thousand Dollars ($15,000.00) and other incidental and
foreseeable out-of-pocket expenses the total amount of which will be subject to proof at the time of

trial.

Page 5 of 10

 

 

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Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 13 of 24

l 24. An additional result of Defendant State Farm’s (as well as Does I-X and Roe
2 Corporation I-X) conduct is that it has caused Plaintiff much anxiety, wony, and stress Plaintiff has
3 been required to retain legal counsel to prosecute this action. Plaintiff is therefore entitled to recover
4 reasonable attomey’s fees, costs and expenses incurred in this action.
5 28. Defendant State Farm’s (as well as Doe I~X and Roe Corporations Xl-XX) conduct
6 described herein subjected and continues to subject Plaintiff to cruel and unjust hardship in
7 conscious disregard to Plaintiff’s rights constituting fraud, oppression and malice, entitling Plaintiff
8 to punitive or exemplary damages in an amount in excess of Fifteen Thousand Doilars ($1 5,000.00)
9 sufficient to punish or set an example of Defendant State Farm.

10 1111ng CAU§E OF ACTION

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7 (Breach of Fiduciary Duty / Bad Faith)

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26, Plaintiff repeats and re-alleges each and every preceding allegation as though fully

set forth herein.

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27. Defendant State Farm, and/or its agents, also breached the duty known as the “special

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relation duty” owed by insurer to its insured as well as the fiduciary duty owed by an insurance

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carrier to its own insured constituting the tort of insurance bad faith, in failing to reasonably,

properly, fairly, and timely evaluate and tender reasonable underinsured motorist policy benefits

18 owed to Plaintiff as provided for by the policy of insurance.

19 28. As a proximate result of Defendant State Farm and its agents’ breach of the special
20 and fiduciary duty owed to Plaintiff, Plaintiff has suffered financial loss, anxiety, worry, mental and
21 emotional distress and other incidental damages all to Plaintiff’s general damage in an amount in
22 excess of Fifteen Thousand Do]lars ($15,000.00).

23 29. Defendant State Farm’s (as well as Doe I~X and Roe Corporations XI-XX) conduct
24 described herein subjected and continues to subject Plaintiff to cruel and unjust hardship in
25 conscious disregard to Plaintiff’s rights constituting fraud, oppression and malice, entitling Plaintiff
26 to punitive or exemplary damages in an amount in excess of FiReen Thousand Doilars ($15,000.00)
27 sufficient to punish or set an example of Defendant State Farm.

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Page 6 of 10

 

 

 

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Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 14 of 24

l F§ !UR'I`H CAUSE QF ACTIQN

(Violation of the Unfair Claim Practices Act - Unfair Trade Practices)
30. Plaintiff repeats and re~alleges each and every preceding allegation as though fully
set forth herein.
3 1 . b Defendant State F arm is a member of the class of entities intended to be regulated by
Nevada Revised Statutes 686A.310, et seq. Plaintiff is a member of the class of persons protected
by Nevada Revised Statutes 686A.310, et seq.

32. Defendants (as well as Does I-X and Roe Corporation I-X), each of them, engaged

\DCO`|O\U!A!.>JIQ

in the business of insurance in Nevada is, and at all times mentioned was a member of the class

10 regulated by NRS 686A.310, et, seq. Defendants, each of them, owed a duty to Plaintiff to act fairly

FAX: 702-240-5797

ll in handling claims as required by NRS 686A.10 and NAC684A.675.

12 33. Defendants (as well as Does I~X and Roe Corporation l-X) violated their duty to
13 Plaintiff to act fairly in handling claims under NRS 686A.310 and NAC 686A.675 by the conduct
14 enumerated herein above, including, but not limited to: wrongfully contesting the Policy', failing to
15 acknowledge and act reasonably and promptly upon communications with respect to the claims
16 arising out of the policy of insurance; failing to place Plaintiff’s interests on equal ground with their
17 own; refusing to pay all sums due to Plaintiff; compelling Plaintiff to institute litigation to recover
18 amounts due under the insurance policy and carrying out unfair and deceptive trade practices in the

19 business of insurance; violating NRS 686A.310 (b),( c), (d),(l) &(n). By the aforesaid acts and
20 omissions, Defendant State F arm has violated its statutory duties contained with Nevada Revised
21 Statutes 686A.310, et seq.

22 34. As a proximate result of Defendant State F arm and its agents’ breach of its statutory
23 duties, Plaintiff has suffered damage in an amount in excess of Fifteen Thousand Do|ia.rs
24 ($ 1 5,000.00).

25 35. Plaintiff has been required to retain legal counsel to prosecute this action. Plaintiff
26 is therefore entitled to recover reasonable attomey’s fees, costs and expenses incurred in this action.
27 36. That as a further proximate result of Defendants’ (as well as Does 1-X and Roe

28 Corporation I-X) conduct described herein was intended to cause injury to Plaintiffor was despicable

Page 7 of 10

 

 

 

enne Ave., Suite 250
, Nevada 89129
FAX: 702-240-5797

BOWEN LAW OFFICES
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Las Vegas

9960 w. chey
702-240-5191

Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 15 of 24

.l conduct carried on by Defendants, which has been reckless, willful, malicious and/or negligent and
2 done with a conscious disregard of Plaintiff’s rights, subjected Plaintiff to cruel and unjust hardship,
3 and was intentional misrepresentation, deceit, or concealment of material facts known to Defendants
4 with the intention, implied or in fact, to deprive, Plaintiff of property, legal rights, or to otherwise
5 oppress and/or cause injury, under NRS 42.005, thereby entitling Plaintiff to punitive and/or
6 exemplary damages in an amount appropriate to punish or set an example of Defendants.
7 simmsan
8 (Negligent and/or Intentional Misrepresentation)
9 37. Plaintiff repeats and re-alleges each and every preceding allegation as though fully
10 set forth herein.
ll 38. l Defendant State Farm owed a duty to Plaintiff to ensure that the insurance contract
12 was generally fit for the ordinary purpose for which it was written and that Defendant would honor
13 the contract terms when presented with a valid claim. l
14 39. Defendant State Farm knew or Should have known that Defendant would not honor
15 the terms of the insurance contract prior to selling the Policy to Plaintiff, but negligently and/or
16 intentionally misrepresented to Plaintiff it would do so.
17 40. Plaintiff relied on Defendant’s representations when he entered into the insurance
18 contract, and said representations served as an inducement to enter into said contract
19 41. That by failing to ensure that the insurance contract adequately protected Plaintiff
20 prior to inducing Plaintiff to enter into the contract, Defendant breached its duty to the Plaintiff.
21 42. As a proximate result of Defendant State Farm and its agents’ negligent and/or
22 intentional misrepresentations, Plaintiff has suffered damages in an amount in excess of Fifteen
23 Thousand Doliars ($15,000.00).
24 S_IXIH_CME.QE_AQI`.LQB
25 (Decloratory Reliei')
26 43. Plaintiff repeats and re-alleges each and every preceding allegation as though fully
27 set forth herein.
28 44. Defendant State Farm owed Plaintiff the following duties, among others: (a) a duty
Page 8 of 10

 

 

 

BOWEN LAW OFFICES

Suite 250

Conquistador Plaza
Las Vegas, Nevada 89129
702-240-5191 FAX: 702-240-5797

9960 W. Cheyenne Ave_,

Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 16 of 24

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to honor the UIM insurance contract for the entire policy duration; (b) a duty to conduct a prompt,
reasonable and diligent investigation of the facts of the case to determine the validity of the claims
made by Plaintiff; © a duty to evaluate the Plaintiff’s claims fairly; (d) a duty to attempt in good faith
to effectuate a prompt, fair and equitable settlement of a claim where liability is reasonable clear;
(e) a duty to act promptly and reasonably in settling the claim; (t) a duty not to reject a reasonable
and fair offer of settlement; (g) a duty not to put its insured through unnecessary litigation; (h) a duty
not to put its insured’s assets at risk; (i) a duty to refrain from actions that would inj ure the Plaintiff s
insured ability to obtain the benefits of the insurance contract; and (j) a

duty of good faith and fair dealing

45. Upon information and belief, the Plai ntiff al leges that Defendant State Farm breached
its duties owed to Plaintiff by, among other things: (a) failing to honor the UIM insurance contract;
(b) failing to conduct a prompt, reasonable and diligent investigation of the claims made against
State Farm Insurance; © failing to evaluate the claim fairly; (d) failing to tender the claims; (e)
failing to attempt in good faith to effectuate a prompt, fair and equitable settlement of the claim; (i)
not making any reasonable settlement offers to offer the claims; (g) failing to accept reasonable and
fair offers of settlement; (h) putting its insured, Plaintiff herein, through unnecessary litigation; (i)
putting its insured's personal assets at risk; and (j) failing to pay any reasonable portion of the
insurance coverage to Plaintiff herein.

46. As a direct and approximate result of State Farm’s breaches ofits duties that it owed
to its insured, the Plaintiffherein, Plaintiff has been deprived of the benefits to which he was entitled
and for which he bargained in the insurance contract, and was forced to incur expenses to obtain the
benefits to which they were otherwise entitled and Plaintiff has otherwise been damaged in amounts
to be determined at trial. State Farm’s actions herein constitute bad faith insurance practices

47. A dispute now exists between Plaintiff and Defendants (as well as Does I-X and Roe
Corporation I-X) as to the rights and obligations of the parties concerning the above-mentioned
allegations. Therefore, pursuant to N.R.S. 3 1.010, et seq., Plaintiff is entitled to have this court enter
a declaratory judgement setting forth the respective rights, duties and obligations of the parties

hereto, The Court should enter declaratoryjudgment, that Defendants must pay the policy limits to

Page 9 of 10

 

anne Ave., Suite 250

Conquistador Plaza

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Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 17 of 24

,
l Plaintiff herein, in order to satisfy the damages sustained by Plaintiff in the underlying accident
2 48. Plaintiff has been required to retain legal counsel to prosecute this action. Plaintiff
3 is therefore entitled to recover reasonable attorney’s fees, costs and expenses incurred in this action
4

PRAIER F§ !R REL!EF
5
Wherefore, Plaintiff prays for judgment in his favor and against Defendant (as well as Does
6
I-X and Roe Corporation I-X) as follows:
7
1. For general and special damages in an amount in excess of Fiiieen Thousand Do]lars
8
($15,000.00);
9
2. For punitive damages and exemplary damages in an amount in excess of Fifteen
10
Thousand Dollars (315,000.00);
11
3. For declaratory judgment setting forth the rights, duties and obligations of the parties
l 2
under the aforementioned agreements, as well as pay the policy limits to Plaintiff herein.
13
4 For Treble damages;
14
5 For Interest;
15
6. For reasonable attorney’s fees and costs; and
16
7 For such other relief as the Court deems just and proper
17
DATED this g§day ofimuay, 201 s.
18
BOWEN LAW OFFICES
19
\ " ‘ .
20 ' '
JEROME R.' B%WEi€, §sQ. (sBN 4540)
21 DANIEL P. NUBEL, EsQ. (sBN 13553)
9960 W. Cheyenne Ave., Suite 250
22 Las Vegas, Nevada 89129
Telephone: (702)240-5 191
23 Facsimile: (702) 240-5797
Attomeys for Plaintiff
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25
26
27
28
Page 10 of 10

 

 

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EXHIBIT B -
Summons

EXHIBIT B -
Summons

- BOWEN LAW OFFICES
Conquistador Plaza
9960 W. Cheyenne Ave., Ste. 250

Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 19 of 24

 

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DlV|S|ON OF |NSURANCE
STATE OF NEVADA

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JEROME R. BOWEN, ESQ.

Nevada Bar No.4540

DANIEL P. NUBEL, ESQi

Nevada Bar No. 13553

BOWEN LAW OFFICES

9960 W. Cheyenne Ave., Suite 250

Las Vegas, Nevada 89129

'1` elephone: (702)240-51 91 +Facsimile: (702) 240-5797
' cox lv wf` .co

Attorneys for Plaimz')j’

DISTRICI` COURT
CLARK COUNTY, NEVADA

***

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Dept No.:'32

p-l
p_a

Plaintiff,

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VS.

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STATE FARM MUTUAL AUTOMOBILE

INSURANCE COMPANY, a foreign

corporation; DOES l through X, inclusive;

aaa nos coRPoRA'rroNs, 1 through x, SDRM_Q!S
inclusive,

,_.
U\

Las Vegas, Nevada 89129
5

702»240~5191 FAX: 702-240-5797
'L'

Defendants.

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'1`0: STATE FARM MUTUAL AUTOMOB]LE lNSURANCE COMPA.NY

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\D

NOTICE! YOU HAVE BEEN SUED. lT]Il`:`. COURT MAY DECIDE AGAINST YOU W`['I'HCUT

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YOUR BEING HEARD UNLESS YOU RESPOND WITH]N 20 DAYS. READ THE INFORMATION

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BELOW.

B

TO TH.E DEFENDA.N'I`: A civil Complaint liu been filed by the Plaintihe against you for the relief set

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forth in the Complaint.

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l. If you intend to defend thislawsuit, within 20 days after this Summons is served on you exclusive of the

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Vt

day of service, you must do the following

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a. Fi!e with the Clerk of the Court, whose address is shown helow, a formal written response to the

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Complaint i.n accordance with the rules of the Court.

 

Case Number: A-1B-7GB472-C

 

 

Conquistador Plaza

BOWEN LAW OFFICES
9960 W. Cheyenne Ave., Ste. 250

Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 20 of 24

 

 

as, Nevada 89129

Las Veg

1 b. Ser_ve a copy of your response upon the attorney whose name and address is shown below.
2 2. Unless you rcspond, your default will be entered upon application of the plaintiff and this Court may
3 enter a judgment against you for the relief demanded in the Complaint, which could result in the taking of money or
4 property or other relief requested in the Complaint,
5 3. If you intend to seek the advice of an attorney in this mauer, you should do so promptly se that your
6 response may be filed on time.
7 issued at direction of: ' _ ' ’
` '/ ‘ . z .' = '
8 ina/mla /\] /\M By_/,ja Josetina.-~San Juan 3/2/2018
‘-.1 __ ~.' ' _ - »" _ ".t."‘
9 ranoME R. BOWEN, EsQ. " ` ’ cLERK-_<_)F 'rHE c'oUR'r one
Nevada Bar No. 4540 ` County Courthouse
10 DANlEL NUBEL, ESQ. _ 200 I.Ms_Avem_le -
Nevada Bar No. 13553 Las Vegas, Nevada 89155
g 11 9960 W. Cheyenne Ave., Suite 250 . j
,_,‘\., Las Vegas, Nevada 89129 '
S' 12 Attomey for Plaintiff’s
01
¢o`l\ 1 3 NOTB: When service is by publicatir.n., add a hriefstaten'cnt oflheobjectoftheauion. See luis of Civil Pmcedure, Rule 4(|:).
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Page 2 of 2

 

 

Case 2218-CV-00674-G|\/|N-VCF D OOOOOO t 1 Filed 04/13/18 Page 21 Of 24

EXHIBIT C -
Proof of Service

EXHIBIT C
Proof of Service

Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 22 of 24

l PROOF OF SERVICE

 

2 1 hereby declare that on this day l served a copy of the Summons and Complaint upon
3 the following defendant in the within marter, by shipping a copy thereof, via Certiiied mail,

4 return receipt requested, to the following:

5 State Farm Mutual Autoniobile lnsurance Company
c/o CSC Services of Nevada, lnc.
6 22|5 Renaissance Dr., Ste. B
has Vegas.A NV 89119-6727
7 CERTIFIED MAII. NO. 7016 3010 0000 0486 3265
8 ldeclare, under penalty of perjury, that the foregoing is true and correct.
9 DATED this 16‘“ day OfMth-ch, 2018.
10

" hustler/azar

 

12 RHONDA KELLY L)
Employee of the State of Nevada
13 Departmcnt of Business and industry

Division of lnsurance

15 RE: Shane Spillett vs. State Farm Mutual Automobile lnsurunce Company, et al.
District Court, Clarl< County, Nevada

  
 

 

16 Case NO. A-18-768472-C

17

18 _,,“a,`,_ State of Nevada. Div!slon of insurance
h This document on which this certificate

j |s slamped' is a fu|l, true and correct

l 9 ’ copy ofthe or|g|ns|.

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Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 23 of 24

l-'lRI.`-\t\" S;-\NDIO\"AL STATE OF NEVADA C.j. M.-\N'THE

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`H.i\l`(B_-\IL-\ D. lilCl~lARl)SON

Cummi.~'.-i¢mer

 

DEI"AR'I`MENT ()l" 'BUS[NESS AND lNDUSTRY
DIVlSlON OF INSURANCE
3_300 \X/csr Saln\ra Avcnue, Suite 275
l_as Vegas, Nevada 89102-3200
(YOZ) 486'4009 ‘ Fax (702) 486-4007
\Vebsite: dui.n\'.gr_)\'
E»l't\ail: iusi11f'c)((l)tlt)i.11\‘._go\‘

March 16, 20|8

Daniel P. Nubel, Esq.

BOWEN L,AW OFFICES

9960 W. Cheyenne Ave., Ste. 250
Las Vegas, NV 89129

RE: Shane Spillett vs. State Farm Mutual Automobile Insurance Company, et al.
District Court, Clark County, Nevada
Case No. A»18-768472-C

Dear Mr. Nube|:
The Division received the service of process documents on March 15, 2018, regarding

the above-entitled matter. Service has been completed on State Farm Mutual Automobile
lnsurance Company this date-and enclosed are the following

l. A copy of our letter to State Farm Mutual Automobile insurance Company dated
March 16, 2018;

2. A certified copy of the Proof of Service dated March 16, 2018; and

31 Your receipt in the amount of $30.00.

Pursuant to Nevada Revitred Smttile.s' (NRS) 630A.260, 685A.200, and 6853.()50, all
documents after initial service of process may be served directly to the parly.

If you have any questions regarding this service, please so advise.
Sincerely,

BARBARA D. R[CHARDSON
Commissioner of Insurance

By: MM

RHONDA KELLY 5
Service of Process Clerk

Enc|osures

c: State Farm Mutual Automobile Insurance Company

 

 

Case 2:18-cV-00674-G|\/|N-VCF Document 1 Filed 04/13/18 Page 24 of 24

BRfAN SANI;OVAL k STATE OF NEVADA C.]. MANTHE

Gr)vemar I)irecror

BARHARA D. RICHARDSON

Cbmmixir)ncr

 

DEPARTMENT OF BUSINESS AND lNDUSTRY

DlVlSION OF lNSURANCE
3300 West Sahara Avenue, Suite 275
Las Vegas, Nevada 89102-3 200
(702) 4864009 * Fax ('IOZ) 4864007
Website: doi.nv.gov
F.-ma il-. 'msi nfo@doi. nv.gov

March 16, 2018

State Farm Mutual Automobile Insurance Company

c/o CSC Services of Nevada, lnc.

2215 Renaissance Dr., Ste. B

Las Vegas, NV 891 19-6727

RE: Shane Spillett vs. State Farm Mutual Automobile lnsurance Company, et al.
District Court, Clark County, Nevada
Case No. A-18-768472-C

Dear Sir or Madam:

Enclosed please find the following documents: Summons and Complaint. These
documents have been served upon the Commissioner of lnsurance as your attorney for service of
process on March 15, 2018.

The appropriate action should be taken immediately, as you may only have 30 days from
the date of this service to respond

If you have any questions regarding this service, please advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of lnsurance

dasa/cia

RHONDA KELLY()
Service of Process Clerk

Enclosures

c: Daniel P. Nubel, Esq.

 

